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                EXHIBIT B
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BW Round           Case Name                        Current Status

   1                Ray, Pearl                   Dismissed with Prejudice

   1               Tuyes, Lisa                   Removed from Trial Pool
                                           Motion for Summary Judgment (SOL)
   1            Durden, Antoinette
                                                   5th Circuit Affirmed
                                           Motion for Summary Judgment (SOL)
   1              Francis, Tanya
                                                   5th Circuit Affirmed

   1              Martin, Della                  Removed from Trial Pool

   1              Chetta, Debra                  Removed from Trial Pool
                                           Motion for Summary Judgment (SOL)
   1           Thibodeaux, Cynthia
                                                   5th Circuit Affirmed
                                           Motion for Summary Judgment (SOL)
   1            Johnson, Deborah
                                                   5th Circuit Affirmed

   1             Earnest, Barbara                  Trial Case - Resolved

   1             Kahn, Elizabeth                   Trial Case - Resolved
                                           Motion for Summary Judgment (LID)
   2               Gahan, Kelly
                                                   5th Circuit Affirmed
                                           Motion for Summary Judgment (LID)
   2              Phillips, June
                                                   5th Circuit Affirmed

   2            Addelson, Barbara                Removed from Trial Pool

   2             Mills, Jacqueline               Removed from Trial Pool
                                                  Removed from Trial Pool
   2             Crayton, Sheila
                                         Motion for Summary Judgment (Causation)

   3            Gabriel, Kathleen                Dismissed with Prejudice

   3              Warren, Diana                  Dismissed with Prejudice

   3              Collins, Tonia                 Removed from Trial Pool

   3            Stevenson, Sharon                Removed from Trial Pool

   4              Grines, Hattie                 Dismissed with Prejudice

   4              Roach, Melissa           Motion for Summary Judgment (SOL)

   4              Willie, Emma             Motion for Summary Judgment (LID)

   4              Greer, Juanita           Motion for Summary Judgment (SOL)

   4              Smith, Cindy             Motion for Summary Judgment (SOL)
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BW Round           Case Name                         Current Status

   4              Brown, Cynthia                 MS Show Cause/SOL MSJ

   4              Burks, Sandra              Pending MS Show Cause/SOL MSJ

   4              Durden, Angela                 MS Show Cause/SOL MSJ

   4             Kumar, Mildred                  MS Show Cause/SOL MSJ

   4              Moore, Minnie                  MS Show Cause/SOL MSJ

   4              Pigott, Shirlon                MS Show Cause/SOL MSJ

   4              Allen, Sharon                   Removed from Trial Pool

   4              Alvarez, Nancy         Removed from Trial Pool (DQ by Agreement)

   4             Berry, Samantha                  Removed from Trial Pool

   4           Broussard, Geraldine               Removed from Trial Pool

   4               Carter, Sybil         Removed from Trial Pool (DQ by Agreement)

   4            Crosby, Georgiann        Removed from Trial Pool (DQ by Agreement)

   4           Dixon-Young, Barbara               Removed from Trial Pool

   4              Dyson, Tanga           Removed from Trial Pool (DQ by Agreement)

   4              Elmore, Gloria         Removed from Trial Pool (DQ by Agreement)

   4            Jolivette, Marcella               Removed from Trial Pool

   4              Jones, Daphne                   Removed from Trial Pool

   4              Mosher, Kelly          Removed from Trial Pool (DQ by Agreement)

   4             Thomas, Tinella         Removed from Trial Pool (DQ by Agreement)

   4              White, Pamela                   Removed from Trial Pool
